                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                       v.                    )    Civil Action No. 8:25-cv-337
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)


                                              ORDER

       Having considered the parties’ joint motion for a limited partial stay, the motion is

GRANTED.

       Defendants’ deadline for responding to the Amended Complaint and any deadlines

triggered by Rule 16(b), including the submission of a conference report under Rule 26(f), are

hereby STAYED pending the resolution of Defendants’ pending appeal of the preliminary

injunction before the Fourth Circuit.

       The stay of the deadline for Defendants to respond to the Amended Complaint and of the

deadlines triggered by Rule 16(b) shall not affect the ability of Plaintiffs to (1) seek leave to

amend their Amended Complaint or seek additional preliminary injunctive relief on the basis of

further actions by the Government or (2) move to enforce the preliminary injunction during the

pendency of the appeal.

       It is further ORDERED that within 7 days of the Fourth Circuit panel’s decision, the

parties file a joint status report advising the Court of their respective positions on whether the

stay should be continued pending further appellate proceedings before the en banc Fourth Circuit
or the Supreme Court.

       IT IS SO ORDERED.



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Date: April _____, 2025                 /s/
                           ___________________________________
                           HON. BRENDAN A. HURSON
                           UNITED STATES DISTRICT JUDGE
